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                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 DEBRA HELTON,

         Plaintiff,
                                                                 Civil Action No.
 v.
                                                               5:21-cv-00404-MTT
 THE GEO. D. WARTHEN BANK,

         Defendant.

                           SCHEDULING AND DISCOVERY ORDER

        The parties held a Rule 26(f) conference on February 7, 2022. In accordance with the

Court’s Rules 16 and 26 Order dated January 19, 2022 (Doc. 7), the parties to this action conferred

and jointly developed this Proposed Scheduling and Discovery Order (the “Proposed Order”)

containing deadlines and limitations as follows:

I.      Nature of the Case:

        This case is brought by Plaintiff Debra Helton concerning her former employment with
        Defendant The Geo. D. Warthen Bank. Specifically, Plaintiff claims that Defendant
        terminated her employment based on Plaintiff’s age and her sex, including stereotyping
        based on sex, in violation of the Age Discrimination in Employment Act and Title VII of
        the Civil Rights Act, respectively. Defendant denies Plaintiff’s allegations.

II.     Counsel of Record:

        The following individually-named attorneys are designated lead counsel for the parties:

           Kenneth E. Barton III                       John D. Bennett
           Cooper, Barton & Cooper, LLP                Freeman Mathis & Gary, LLP
           170 College Street                          100 Galleria Parkway, Suite 1600
           Macon, Georgia 31201                        Atlanta, Georgia 30339-5948
           T: (478) 841-9007                           T: (770) 818-0000
           F: (478) 841-9002                           F: (770) 937-9960
           E: keb@cooperbarton.com                     E: jbennett@fmglaw.com
           Lead Counsel for Plaintiff                  Lead Counsel for Defendant




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III.    Complaint and Answer filing dates:

         Complaint was filed: November 11, 2021

         Answer was filed: January 10, 2022

IV.     Discovery Deadlines:

         A.     Time for Discovery

                 The time for discovery in this case shall expire August 17, 2022, that being no
                 more than 180 days after the submission of the Proposed Order to the Court.

                 If a party believes that more time for discovery is needed, an appropriate motion,
                 accompanied by a proposed order for the Court, may be filed setting forth good
                 cause for an extension.

        B.      Scope of Discovery

        The following is a list of the subjects on which discovery may be needed:

                1.     Plaintiff’s former employment with Defendant, including her performance,
                compensation and benefits, disciplinary actions taken against her, and Defendant’s
                termination of Plaintiff;

                2.      Defendant’s employment and personnel policies and practices;

                3.     Disciplinary actions, including terminations, that Defendant has previously
                taken against other employees;

                4.      Efforts taken by Defendant to seek a replacement for Plaintiff’s former
                position, including the qualifications of any such person(s) who received an offer
                of employment for said position; and,

                5.     Plaintiff’s efforts to seek prospective employment after Defendant
                terminated her employment.

                6.      The claims and defenses set forth in the Complaint and Answer.

                The parties do not request at this time that discovery be conducted in phases or be
                limited to or focused on any particular issues.

         C.     Electronically Stored Information

                The parties believe that all relevant ESI is in the possession of the parties and can
                be searched and produced by the parties in response to requests for the production
                of documents to be served in discovery. The parties have agreed that ESI and other
                documents may be produced in PDF format (albeit separated by individual
                documents, rather than large PDF’s of multiple documents) and need not be


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                produced in native format unless requested for specific documents based on a need
                for such documents in native format. The parties currently do not anticipate any
                issues regarding the costs of production of electronic discovery, as the amount of
                electronically stored information is expected to be minimal. The parties have
                agreed to instruct their clients to take all reasonable measures necessary to preserve
                all electronically stored information relevant to the claims and defenses in this
                matter. No metadata shall be removed from any electronic or digital evidence.

         D.     Privilege Claims

                The parties do not anticipate any unusual or complex privilege issues, but will work
                in good faith to amicably resolve any such issues should they arise. The parties
                agree to produce a privilege log for any materials that are responsive to discovery
                requests, but which are withheld from production on the basis of the attorney-client
                privilege and/or work product doctrine.

         E.     Witnesses to be Deposed

                Plaintiff intends to depose the following listed witnesses:

                1) Ken Bibb, Defendant’s President;

                2) Lamar Doolittle, Defendant’s Chief Operations Officer;

                3) Karen Wilson, Defendant’s Human Resources Manager; and,

                4) Ashley Haynes, Defendant’s Loan Operations Supervisor.

                Defendant intends to depose the following listed witnesses:

                1) Plaintiff; and

                2) Any witnesses with whom Plaintiff or her counsel have communicated
                   regarding the facts of this matter.

         F.     Expert Witnesses

                The Plaintiff must disclose expert witnesses and provide appropriate expert
                reports on or before May 19, 2022, that being no more than 90 days after the
                submission of the Proposed Order to the Court.

                The Defendant must disclose expert witnesses and provide appropriate expert
                reports on or before Saturday, June 18, 2022, that being no more than 120 days
                after the submission of the Proposed Order to the Court.

                Expert reports shall comply with Federal Rule of Civil Procedure 26(a)(2)(B).
                Expert reports may not be supplemented without the consent of all parties or leave
                of Court.


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        G.      Discovery Limitations or Need for Protective Order

                The parties agree that requests for admission that are propounded solely to
                authenticate documents as provided for under Federal Rule of Civil Procedure
                36(a)(1)(B) are excluded from Local Rule 36’s limitation on the number of
                requests to admit that can be propounded.

                The parties may execute and submit a consent protective order to limit the use and
                disclosure of confidential and proprietary information disclosed during discovery.

        G.      Discovery Disputes

                Before moving for an order relating to discovery, including motions to compel or
                contested motions for protective orders, the movant must contact Kim Tavalero,
                Courtroom Deputy (Kim_Tavalero@gamd.uscourts.gov) to request a telephone
                conference with the Court. When contacting the Courtroom Deputy, the email
                should include a concise statement of the issue(s) and a summary of each party’s
                position.

V.      Time for Filing Motions:

         A.     Motions to Amend the Pleadings or to Join Parties

                 All motions seeking to amend the pleadings or to join parties must be filed no later
                 than April 19, 2022, that being no more than 60 days after the entry of this
                 Scheduling and Discovery Order.

         B.     Dispositive Motions

                 All dispositive motions must be filed no later than September 16, 2022, that being
                 no more than 30 days after the expiration of discovery in this case.

         C.     Daubert Motions

                 All Daubert motions must be filed no later than September 16, 2022, that being no
                 more than 30 days after the expiration of discovery in this case.

VII. Certification of the Parties and Counsel:

        The Parties, by the signature of counsel below, certify they have conferred and discussed
        the nature and basis of their claims and defenses and the possibilities for prompt settlement
        or resolution of the case, pursuant to Local Rule 26(a).

        Counsel further certify they have read the Court’s Rules 16 and 26 Order. All counsel of
        record shall digitally sign below.

        This 18th day of February, 2022.




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         /s/ Kenneth E. Barton III                        /s/ John D. Bennett
         Kenneth E. Barton III                            John D. Bennett
         Georgia Bar No. 301171                           Georgia Bar No. 059212
         Emily M. Walker                                  Travis M. Cashbaugh
         Georgia Bart No. 221826                          Georgia Bar No. 308162
         Cooper, Barton & Cooper, LLP                     FREEMAN MATHIS & GARY, LLP
         170 College Street                               100 Galleria Parkway, Suite 1600
         Macon, Georgia 31201                             Atlanta, Georgia 30339-5948
         T: (478) 841-9007                                T: (770) 818-0000
         F: (478) 841-9002                                F: (770) 937-9960
         E: keb@cooperbarton.com                          E: jbennett@fmglaw.com
                                                              tcashbaugh@fmglaw.com


        The Court, having reviewed the information contained in the Proposed Scheduling and

Discovery Order completed and filed jointly by the parties to this action, hereby ADOPTS the

parties’ plan and MAKES IT THE ORDER OF THE COURT.

        SO ORDERED, this 18th day of February, 2022.



                                                    S/ Marc T. Treadwell
                                                    MARC T. TREADWELL, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT




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